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                                     DI.ABETICICAEORIE'.CONTROELEDDIET                    ·====·.




                        Purpose/Indication: To maintain or achieve ideal body weight with consistency in calorie, protein,
                        carbohydrate, and fat levels for each meal based upon diabetic exchanges.

                        For Residents:

                        1. With Type 1 (Insulin Dependent) diabetes mellitus or Type 2 (Non-insulin Dependent) diabetes
                           requiring strict blood sugar control

                        2. Who are highly self-motivated and extremely obese

                        Nutritional Description: Approximately 50-60% carbohydrates, 15-20% protein, and 25-35% fat.
                        Sodium level is below 3000 milligrams, if individual does not add salt (salt is not offered as a part
                        of these calorie controlled diets). Limited in trans fat.

                        The 1800 calorie diabetic/calorie controlled diet may be low in Vitamin A and supplementation is
                        recommended. For women Iron may not be at 100% of the DRI therefore supplementation is
                        recommended. Iron is adequate for men.

                        Patterns incorporating a cold breaifast, lunch and/or dinner meal may be higher in sodium and/or
                        calorie content.

                        Restrictions/Modifications: Refer to menu pattern provided on the diet sheets




                                                                                                                            25
                                        FOOD LISTS FOR DIABETES
     Meals are planned using four different categories or groups of foods. Foods within each group are
     similar in calorie, protein, carbohydrate, and fat level. This similarity allows meals to be patterned
     by specified numbers of standard portions for each food group. The pattern is defined into actual
     menu items by exchangi,ng the similar food items within each food group for each meal.

     The four groups include:             Carbohydrates                                  Proteins
                                          Fats                                           Alcohol

                               ONE (1) CHOICE= ONE (1) STANDARD PORTION

     * *The Diabetic/Calorie Controlled Diet offers a specified amount of syrup on the diet plans when
     on regular menu. J Tablespoon or ½ oz of regular pancake syrup is counted as 1 choice (15 grams
     ofcarbohydrate)
                                       FOOD LIST FOR DIABETES
                              (Revised 2014, American Diabetic Association and the American Dietetic Association)
              Food List                  Carbohydrates                     Protein                  Fat             Calories
                                            (grams)                        (grams)               (grams)
     Carbohydrates
     Starch: breads, cereals                      15                            3                     1               80
     and grains, starchy
     vegetables, crackers, snacks
     and beans, peas and lentils
     Fruits                                       15                            --                   --               60
     Milk
      Fat-free, low-fat, 1%                       12                            8                    0-3              100
      Reduced-fat, 2%                             12                            8                     5               120
      Whole                                       12                            8                     8               160


D)   Sweetsj Dessertsj and
     Other Carbohydrates                          15                         vanes                vanes              vanes

     Nonstarchy                                   5                             2                    --               25
     Vegetables
     Proteins
      Lean                                        --                            7                     2               45
      Medium-fat                                  --                            7                     5               75
      High-fat                                    --                            7                     8               100
      Plant-based proteins                     vanes                            7                 varies             varies
     Fats                                         --                            --                    5               45
     Alcohol                                   vanes                            --                   --               100
           * Protein calculations used in diabetic patterns are based on choices and a composite of our specific products




                                                                                                                               26
The Diabetic/Calorie Controlled Diet is offered at four calorie levels, 1800, 2200, 2500 and 2800
calories, and includes three meals and the evening snack. The evening snack for all calorie levels
consists of:

                                         Evening/PM Snack
                                Meat/meat alternate*        2 ounces
                                Bread                       2 slices
                                Fruit                       1 serving


           * 2 oz meat/meat alternate= 2 oz Turkey, 2 hardcooked eggs or 2 oz of peanut butter
                        (Peanut butter contains 6 grams of carbohydrate per 1 oz)


                                  Additional Considerations

Blood glucose control
The diet provided is not the only factor that can contribute to blood glucose levels. Other factors
include medication amounts/ timing, exercise, and foods provided through sharing, commissary,
Fresh Favorites, etc.

Suggestions for reducing blood glucose levels are:
       - ordering a lower calorie level
       - restricting the individual from commissary purchases or closely monitoring their purchases
       - monitoring food intake to avoid food sharing/swapping

Snack Consideration
The 1800, 2200, 2500 and 2800 calorie diabetic patterns are based on 3 meals and an
evening/PM snack. If the snack is not served, calories and carbohydrate distributions change.


Artificial Sweeteners/Sugar Substitutes in diabetic individuals who are pregnant
A combined pregnancy/diabetic diet would require a special pattern from the dietitian.
The use of FDA approved sweeteners during pregnancy is allowed with the exception of
saccharin. As sugar substitute may be on the menu and may be saccharin, non-nutritive
sweeteners (saccharin, aspartame or NutraSweet, Splenda, etc.) should not be served on
pregnancy diets. Bulk fruit drink contains saccharin and should not be served to pregnant
females. Foods/beverages containing saccharin may be purchased through commissary and Fresh
Favorites. Recommend monitoring intake and possibly restricting food purchases.




                                                                                                      27
  1800 Diabetic Meal Pattern (3 hot meals)                                             2200 Diabetic Meal Pattern (3 hot meals)
                                   carbohydrates                                                                          ··· Carbohydrates
                                         (grams)                                                                               framsr
 Breakfast                                55-.60                                  Breakfast                                      80--85
 Lunch                                                                            Lunch
 Dinner                                                                           Dinner
 Snack                                                                            Snack
 Totals:                                                                           Totals:



  2500 Diabetic Meal Pattern (3 hot meals)                                              2800 Diabetic Meal Pattern (3 hot meals)
                                   Carbohydrates                                                                           .Ca.rbohydra.tes. • ·
                                         (grams)                                                                               <ta.ms)
 Breakfast                               95HOO                                    Breakfast                                     110.-120
 Lunch                                                                            Lunch
 Dinner                                                                           Dinner
 Snack                                                                             Snack
 Totals:                                                                           Totals:


Note: Physicians, medical practitioners and insulin-dependent diabetics can utilize the carbohydrate
grams in order to calculate appropriate dosage and timing of medication.

Most meals will fall within the ranges above though there may be a few exceptions as the regular menu is used as a base




                                                                                                                                    28
                           References - Diabetic/Calorie Controlled Diet

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RD, Tami A. Ross, RD, Pamela Woolf June 2014

 "Reproduction of the Exchange Lists in whole or part, without permission of The American Dietetic Association or the
American Diabetes Association, Inc. is a violation offederal law. This material has been modified from Choose Your Foods:
Exchange Lists for Diabetes, which is the basis of a meal planning system designed by a committee of the American Diabetes
Association and The American Dietetic Association. While designed primarily for people with diabetes and others who must
follow special diets, the Exchange Lists are based on principles of good nutrition that apply to everyone. Copyright© 2014 by
the American Diabetes Association and The American Dietetic Association."

The Academy of Nutrition and Dietetics. Position of the American Dietetic Association and American Society for Nutrition Joint
Position: Obesity, reproduction, and pregnancy outcomes. J Am Diet Assoc. 2009;109:918-927




                                                                                                                                29
For Diets using the Diet Menu, please use the following products as indicated below:
Dry Cereal (unsweetened), Hot Cereals (made without added fat or sugar), Scrambled Eggs (egg mix only- no sauce or seasonings added), Scratch Pattie or crumble (cooked weight pattie made with mechanically separated chicken or soy granules)


BCSC                                                            DIET SHEET
                                                      No added margarine, salt or pepper                                                                                                                                                          Date
                                                                                                                                                                                                      Tuesday
                                                                  MEAL: BREAKFAST                                                                  Week                                               Day
                                                          Hot Cereal/Scrambled Egg


                                                                                                                                                                                      Lf                                                             Regular
Count                           Diet                     ~ugar Sub.            Pepper                Jelly           Marg-           White               Fruit or                     Hot              Scrambled                                     Coffee
                                                                             (If on menu) (If on menu)               arine           Bread             100% Juice                    Cereal               Eggs                                     (If on Menu)      Low Fat Milk
                                                             Same as                              Same as
                                                             General                              General
             Cardiac                                          Menu               1 ea.             Menu               2 ea             2 sl.           1@ or4 oz                        1C                   4 oz                                        8 oz.            8 oz.
                                                             same as
                                                             General
             1800 Diabetic                                    Menu               1 ea.             NONE              NONE              1 sl.           1@ or4 oz                      1/2 C                  2 oz                                        8 oz.            8 oz.
                                                             Sarne as
                                                             General
             2200 Diabetic                                    Menu                1 ea.            NONE              NONE              2 sl.           1@ or4 oz                        1C                   2 oz                                        8 oz.            8 oz.
                                                             same as
                                                             General
             2500 Diabetic                                    Menu               1 ea.             NONE               2 ea             3 sl.           1@ or4 oz                        1C                   4 oz                                        8 oz.            8 oz.
                                                             Sarne as
                                                             General                                                                                 2@or8 ozQL
             2800 Diabetic                                    Menu               1 ea.             NONE               2 ea.            3 sl.          1@&4 oz                           1C                   4oz                                         8 oz.            8 oz.



              Pregnancy                                                     Regular Menu,                          If morning beverage is served replace with milk. Do not serve sugar substitute.
              High Protein / High Calorie                                   Regular Menu,                          No changes required.
              High Fiber                                                    Regular Menu,                          Add fresh fruit if not on regular meal or replace fruit juice with fresh fruit. Serve total of 1 1/2 cups oatmeal in place
                                                                                                                   of cereal on menu.
              Milk-Intolerance                                              Regular Menu,                          NO fluid milk. Replace with 8 oz. fruit drink w/calcium or morning beverage
                                                                                                                   Make sure hot cereal does not contain dairy blend. Replace real cheese and meat gravies with 3 oz. scrambled eggs.
              Dental Soft                                                   Regular Menu,                          Replace fresh apples and pears with bananas, oranges, canned fruit (1/2 c), or 100% juice (4 oz.).




 Complete and attach a Meal Pattern from your MNT Manual to the production production packet for the following diets:
                                         _ _ Clear Liquid         _ _ Finger Foods                      _ _ Vegan                                                                                      _ _ Renal (pre-dialysis)
                                         _ _ Full Liquid          _ _ Gluten Restricted                 _ _ GI Soft                                                                                    __ Renal (Dialysis)                                        __ Other
Total Count                               Count                     Count                                 Count                                Count                                                                                                              Count
 Non-Standard Medical or Religious Diets require a separate Diet Memo from your ACS Dietitian with instructions (Non-Standard Diets are recorded as "other" diets)




                                                                                                            Kansas DOC Diet Load sheets Male Main Menu Fall Winter 2021-22
For Diets using the Special Diet Menu, please use the following products as indicated below:
Baked Chicken (meat only weight), Fish Fillet (unbreaded), Poultry Pattie (scratch from ground turkey or ground chicken), Sliced Turkey (white or combo roll), Beef Pattie (with soy allowable). Breaded Chicken Pattie, Breaded Fish Pattie,
Meatloaf Pattie, all cooked vegetables, starches and beans are made without salt or fat. *** Swiss brand chicken and beef bases purchased through Single Source do not contain meat products and are allowed on /acto-ovo vegetarian diets.

LUNBRE-BP                                                    DIET SHEET
                                                   No added margarine, salt or pepper                                                                                                                                                Date
                                                                                                                                                                                             Tuesday
                                                               MEAL: LUNCH                                                                  Week                                             Day
                                                      UNBREADED MEAT w/ Beans or Potatoes


                                                                                                                                                                             Au                  Lf
                                                                           Pepper               Marg-          White                                                        Gratin              Mixed                Turkey            Fresh or
Count                         Diet                                       (If on menu)           arine          Bread                                                       Potatoes           Vegetables                             Canned Fruit      Low Fat Milk
             Cardiac                                                         1 ea.              1 ea            1 sl.                                                         1C                    1C                 3 oz          1 @ or 1/2 c         8 oz
             1800 Diabetic                                                   1 ea.            NONE             NONE                                                          1/2 C                 1/2 C               3 oz          1 @ or 1/2 c         8 oz
             2200 Diabetic                                                   1 ea.            NONE               1 sl.                                                        1C                   1/2 C               3 oz          1 @ or 1/2 c         8 oz
             2500 Diabetic                                                   1 ea.              1 ea             1 sl.                                                        1C                    1C                 3 oz          1 @ or 1/2 c         8 oz
             2800 Diabetic                                                   1 ea.              2 ea             1 sl.                                                      11/2 C                  1C                 3 oz          1 @ or 1/2 c         8 oz



             Pregnancy                                                  Regular Menu,                        8 oz low fat milk will be provided, if not on regular menu. Processed deli meats must be served hot.
             High Protein / High Calorie                                Regular Menu,                        Replace beverage with 8 oz milk.
             High Fiber                                                 Regular Menu,                        Serve 1 1/2 cups of bean/legumes if on regular menu.
             Milk- Intolerance                                          Regular Menu,                        NO fluid milk. Replace with 8 oz. fruit drink w/calcium. Replace cream gravy with beef or chicken based gravy.
                                                                                                             Replace pudding and ice cream with standard menu portion of cake, cookies, brownie, or gelatin.
             Dental Soft                                                Regular Menu,                        Replace hard taco shells or chips with 2 sl. of bread. Replace fresh apples & pears with bananas, oranges, or canned fruit (1/2 c).

I                                                                                                            No raw vegetables except plain lettuce salad. Replace with a cooked vegetable of the same portion.




    Complete and attach a Meal Pattern from your MNT Manual to the production production packet for the following diets:
                                            _ _ Clear Liquid         _ _ Finger Foods                      _ _ Vegan                           _ _ Renal (pre-dialysis)
                                            _ _ Full Liquid          _ _ Gluten Restricted                 _ _ GI Soft                         _ _ Renal (Dialysis)                                                                                 _ _ Other
Total Count                               Count                     Count                                 Count                                Count                                                                                                Count
 Non-Standard Medical or Religious Diets require a separate Diet Memo from your ACS Dietitian with instructions (Non-Standard Diets are recorded as "other" diets)




                                                                                                       Kansas DOC Diet Load sheets Male Main Menu Fall Winter 2021-22
For Diets using the Special Diet Menu, please use the following products as indicated below:
Baked Chicken (meat only weight), Fish Fillet (unbreaded), Poultry Pattie (scratch from ground turkey or ground chicken), Sliced Turkey (white or combo roll), Beef Pattie (with soy allowable). Breaded Chicken Pattie, Breaded Fish Pattie,
Meatloaf Pattie, all cooked vegetables, starches and beans are made without salt or fat. *** Swiss brand chicken and beef bases purchased through Single Source do not contain meat products and are allowed on lacto-ovo vegetarian diets.

DUNBRE-RN                                                    DIET SHEET
                                                   No added margarine, salt or pepper                                                                                                                                                Date
                                                                                                                                                                   1                         Tuesday
                                                             MEAL: DINNER                                                                   Week                                             Day
                                                     UNBREADED MEAT w/ Rice or Noodles


                                                                                                                                                                                                    Lf              Scratch
                                                                           Pepper              Marg-           White                                                         Lf                   Irish             Poultry             Fresh or       Unsweetened
Count                         Diet                                       (If on menu)          arine           Bread                                                       Noodles                Blend              Patty            Canned Fruit         Tea
             Cardiac                                                         1 ea.             1 ea             2 sl.                                                        2/3 C                  1C               3 oz             1@ or 1/2 c         8 oz.
             1800 Diabetic                                                   1 ea.            NONE              1 sl.                                                        1/2 C                 1/2 C             3 oz             1 @ or 1/2 c        8 oz.
             2200 Diabetic                                                   1 ea.            NONE              2 sl.                                                        2/3 C                 1/2 C             3 oz             1@ or 1/2 c         8 oz.
             2500 Diabetic                                                   1 ea.             2 ea             2 sl.                                                        2/3 C                  1C               3 oz             1@ or 1/2 c         8 oz.
             2800 Diabetic                                                   1 ea.             2 ea             2 sl.                                                         1C                    1C               3 oz             1@ or 1/2 c         8 oz.



             Pregnancy                                                  Regular Menu,                        8 oz low fat milk will be provided, if not on regular menu. Processed deli meats must be served hot.
             High Protein / High Calorie                                Regular Menu,                        Replace beverage with 8 oz milk.
             High Fiber                                                 Regular Menu,                        No changes required.
             Milk- Intolerance                                          Regular Menu,                        NO fluid milk. Replace with 8 oz. fruit drink w/calcium. Replace cream gravy with beef or chicken based gravy.
                                                                                                             Replace pudding and ice cream with standard menu portion of cake, cookies, brownie, or gelatin.
             Dental Soft                                                Regular Menu,                        Replace hard taco shells or chips with 2 st. of bread. Replace fresh apples & pears with bananas, oranges, or canned fruit (1/2 c).

I                                                                                                            No raw vegetables except plain lettuce salad. Replace with a cooked vegetable of the same portion.




    Complete and attach a Meal Pattern from your MNT Manual to the production production packet for the following diets:
                                            _ _ Clear Liquid         _ _ Finger Foods                      _ _ Vegan                                                                         __ Renal (pre-dialysis)
                                            _ _ Full Liquid          _ _ Gluten Restricted                 _ _ GI Soft                                                                       __ Renal (Dialysis)                                     _ _ Other
Total Count                              Count                     Count                                 Count                                                                               Count                                                   Count
Non-Standard Medical or Religious Diets require a separate Diet Memo from your ACS Dietitian with instructions (Non-Standard Diets are recorded as "other" diets)




                                                                                                       Kansas DOC Diet Load sheets Male Main Menu Fall Winter 2021-22
For Diets using the Special Diet Menu, please use the following products as indicated below:
Baked Chicken (meat only weight), Fish Fillet (unbreaded), Poultry Pattie (scratch from ground turkey or ground chicken), Sliced Turkey (white or combo roll), Beef Pattie (with soy allowable). Breaded Chicken Pattie, Breaded Fish Pattie,
Meatloaf Pattie, all cooked vegetables, starches and beans are made without salt or fat. *** Swiss brand chicken and bee~ bases purchased through Single Source do not contain meat products and are allowed on lacto-ovo vegetarian diets.
LSACK-MT                                                   DIET SHEET
                                                 No added margarine, salt or pepper                                                                                                                                Date

                                                                 MEAL: LUNCH                                                             Week                              Day
                                                               SACK LUNCH-MEAT

                                                                                                                                                                                Raw
                                                                                         White              PC              PC                                              Carrot Sticks                              Fresh
Count                       Diet                                                         Bread             Mayo           Mustard                                           OR Broccoli                Meat            Fruit           Low Fat Milk
            Cardiac                                                                        4 sl             1 ea             1 ea                                                   1C                 3 oz             1@                      8 oz
            1800 Diabetic                                                                  1 sl           NONE               1 ea                                                 1/2 C                3 oz             1@                      8 oz
            2200 Diabetic                                                                  3 sl           NONE              2 ea                                                  1/2 C                3 oz             1@                      8 oz
            2500 Diabetic                                                                  3 sl            2 ea             2 ea                                                    1C                 3 oz             1@                      8 oz
            2800 Diabetic                                                                  4 sl            2 ea             2 ea                                                    1C                 4 oz             1@                      8 oz




            Pregnancy                                                Regular Menu,                     8 oz low fat milk will be provided, if not on regular menu. Replace processed deli meats with 3 oz of peanut butter.
            High Protein/ High Calorie                               Regular Menu,                     Replace Beverage with 8oz milk
            HiQh Fiber                                               Regular Menu,                     No changes required.
            Milk- Intolerance                                        Regular Menu,                     NO fluid milk. Replace with 8 oz. fruit drink w/calcium.


            Dental Soft                                              Regular Menu,                     Replace hard taco shells or chips with 2 sl. of bread. Replace fresh apples & pears with bananas, oranges, or canned fruit (1/2 c).
                                                                                                       Replace raw vegetables with plain lettuce salad and 1/3 oz salad dressing.




Complete and attach a Meal Pattern from your MNT Manual to the production production packet for the following diets:
                                        _ _ Clear Liquid          _ _ Finger Foods                       _ _ Vegan                __ Renal (pre-dialysis)
                                        _ _ Full Liquid           _ _ Gluten Restricted                  _ _ GI Soft              __ Renal (Dialysis)                                                                               __ Other
Total Count                             Count                     Count                                  Count                    Count                                                                                             Count
 Non-Standard Medical or Religious Diets require a separate Diet Memo from your ACS Dietitian with instructions (Non-Standard Diets are recorded as "other" diets)
For Diets using the Special Diet Menu, please use the following products as indicated below:
Baked Chicken (meat only weight), Fish Fillet (unbreaded), Poultry Pattie (scratch from ground turkey or ground chicken), Sliced Turkey (white or combo roll), Beef Pattie (with soy allowable). Breaded Chicken Pattie, Breaded Fish Pattie,
Meatloaf Pattie, all cooked vegetables, starches and beans are made without salt or fat. .._ Swiss brand chicken and beef bases purchased through Single Source do not contain meat products and are allowed on lacto-ovo vegetarian diets.

LSACK-PB                                                     DIET SHEET
                                                   No added margarine, salt or pepper                                                                                                                                           Date

                                                                  MEAL: LUNCH                                                                   Week                                Day
                                                           SACK LUNCH - PEANUT BUTTER

                                                                                                                                                                                          Raw
                                                                                              White                                                                                   Carrot Sticks              Peanut             Fresh
Count                         Diet                                                            Bread                                Jelly                                              OR Broccoli                Butter             Fruit        Low Fat Milk
            Cardiac                                                                             4 sl                                1 oz                                                      1C                   3 oz              1@             8 oz
             1800 Diabetic                                                                      1 sl                              1/2 oz                                                     1/2 C                 3 oz              1@             8 oz
            2200 Diabetic                                                                       3 sl                              1/2 oz                                                     1/2 C                 3 oz              1@              8 oz
            2500 Diabetic                                                                       3 sl                              1/2 oz                                                      1C                   3 oz              1@             8 oz
             2800 Diabetic                                                                      4 sl                                1 oz                                                      1C                   3 oz              1@             8 oz




             Pregnancy                                                   Regular Menu,                       8 oz low fat milk will be provided, if not on regular menu.
             High Protein/ High Calorie                                  Regular Menu,                       Replace Beverage wth 8oz milk
             High Fiber                                                  Regular Menu,                       No changes required.
             Milk- Intolerance                                           Regular Menu,                       NO fluid milk. Replace with 8 oz. fruit drink w/calcium.


             Dental Soft                                                 Regular Menu,                       Replace hard taco shells or chips with 2 sl. of bread. Replace fresh apples & pears with bananas, oranges, or canned fruit (1/2 c).
                                                                                                             Replace raw vegetables with plain lettuce salad and 1/3 oz dressing.




 Complete and attach a Meal Pattern from your MNT Manual to the production production packet for the following diets:
                                        _ _ Clear Liquid          _ _ Finger Foods                       _ _ Vegan                _ _ Renal (pre-dialysis)
                                        _ _ Full Liquid           _ _ Gluten Restricted                  _ _ GI Soft              _ _ Renal (Dialysis)                                                                                          __ Other
Total Count                             Count                     Count                                  Count                    Count                                                                                                         Count
 Non-Standard Medical or Religious Diets require a separate Diet Memo from your ACS Dietitian with instructions (Non-Standard Diets are recorded as "other" diets)
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                          TYPES OF DIABETES                                                                                             V\f                                                                                                                L. i t3 R./.\R~/

          Home >> Iv.pes Of Diabetes » Iv..P.e 1 Diabetes » Treatment Of Type 1 Diabetes » Medications And Thera12ies » Iv..12e 1 Insulin TheraP..v.. >> Calculating Insulin Dose




                                                                                             Calculating Insulin Dose

                                                                                          « Designing an Insulin Regimen                                                                                                                              Intensive Insulin TheralQ.Y.. »

                                                                                             Your provider will prescribe an insulin dose regimen for you;
                                                                                             however, you still need to calculate some of your insulin
                                                                                             doses. Your insulin dose regimen provides formulas that
                                                                                             allow you to calculate how much bolus insulin to take at
                                                                                             meals and snacks, or to correct high blood.sugars.


                                                                                                                                                                                                                                                                  calculate
                                                                                         In this section, you will find:                                                                                                                       some      your

                                                                                              An examgle of how to calculate a carboh:v.drate coverag_g
                                                                                              QQg                                                                                                                                             You'll also need to know some
                                                                                              An examgle of how to calculate a high blood sugar correction                                                                                    basic things about insulin. For
                                                                                                                                                                                                                                              example, 40-50% of the total
                                                                                              dose
                                                                                                                                                                                                                                              daily insulin dose is to replace
                                                                                              Ao examgle of how to calculate a mealtime insulin dose                                                                                          insulin overnight.

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                                                                                    11   Formulas that are commonlY. used by_providers to create
                                                                                         insulin doseJecommendatioJlS

                                                                                  First, some basic: things to know about insulin:
                                                                                    e Approximately 40-50% of the total daily insulin dose is to
                                                                                         replace insulin overnight, when you are fasting and
                                                                                         between meals. This is called background or basal insulin
                                                                                         replacement. The basal or background insulin dose usually is
                                                                                         constant from day to day.
                                                                                   • The other 50-60°/o of the total daily insulin dose is for
                                                                                     carbohydrate coverage (food) and high blood sugar
                                                                                         correction. This is called the bolus insulin replacement.

                                                                                  Bolus - Carbohydrate coverage

                                                                                  The bolus dose for food coverage is prescribed as an insulin
                                                                                  to carbohydrate ratio. The insulin to carbohydrate ratio
                                                                                  represents how many grams of carbohydrate are covered or
                                                                                  disposed of by 1 unit of insulin.

                                                                                  Generally, one unit of rapid-acting insulin will dispose of 12-15
                                                                                  grams of carbohydrate. This range can vary from 6-30 grams or
                                                                                  more of carbohydrate depending on an individual's sensitivity
                                                                                  to insulin. Insulin sensitivity can vary according to the time of
                                                                                  day, from person to person, and is affected by physical activity
                                                                                 and stress.

                                                                                  Bolus - High blood sugar correction
                                                                                  ( also known as insulin sensitivity factor)

                                                                                 The bolus dose for high blood sugar correction is defined as
                                                                                 how much one unit of rapid-acting insulin will drop the blood
                                                                                 sugar.

                                                                                 Generally, to correct a high blood sugar, one unit of insulin is
                                                                                 needed to drop the blood glucose by 50 mg/di. This drop in
                                                                                 blood sugar can range from 30-100 mg/di or more, depending
                                                                                 on individual insulin sensitivities, and other circumstances.

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                                                                                              Examples:
                                                                                             Read some examples and therapeutic principles on how to
                                                                                             calculate the carbohydrate coverage dose, high blood sugar
                                                                                             correction dose and the total mealtime insulin dose.

                                                                                             Example #1: Carbohydrate coverage at a meal
                                                                                             First, you have to calculate the carbohydrate coverage insulin
                                                                                             dose using this formula:

                                                                                             CHO insulin dose =
                                                                                                  Total grams of CHO in the meal
                                                                                             + grams of CHO disposed by 1 unit of insulin
                                                                                             (the grams of CHO disposed of by 1 unit of insulin is the bottom
                                                                                             number or denominator of the Insulin:CHO ratio).

                                                                                             for Example #1, assume:
                                                                                              • You are going to eat 60 grams of carbohydrate for lunch
                                                                                              • Your Insulin: CHO ratio is 1:10

                                                                                            To get the CHO insulin dose, plug the numbers into the formula:

                                                                                            CHO insulin dose =
                                                                                                  Total grams of CHO in the meal ( 60 g)
                                                                                            + grams of CHO disposed by 1 unit of insulin (10) = 6 units
                                                                                            You wm need 6 units of rapid acting insulin to cover the
                                                                                            carbohydrate.

                                                                                            Example #2: High blood sugar correction dose
                                                                                            Next, you have to calculate the high blood sugar correction
                                                                                            dose.

                                                                                            High blood sugar correction dose =
                                                                                                  Difference between actual blood sugar and target blood
                                                                                           sugar*
                                                                                            + correction factor.

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                                                                                 *Actual blood sugar minus target blood sugar

                                                                                For Example #2, assume:
                                                                                  • 1 unit will drop your blood sugar 50 points (mg/di) and the
                                                                                      high blood sugar correction factor is SO.
                                                                                  • Pre-meal blood sugar target is 120 mg/di.
                                                                                  • Your actual blood sugar before lunch is 220 mg/di.

                                                                                Now, calculate the difference between your actual blood sugar
                                                                                and target blood sugar:

                                                                                220 minus 120 mg/di = 100 mg/di

                                                                                To get the high blood sugar correction insulin dose, plug the
                                                                                numbers into this formula:

                                                                                Correction dose =
                                                                                     Difference between actual and target blood glucose
                                                                                (100mg/dl)
                                                                                + correction factor (SO) = 2 units of rapid acting insulin
                                                                                So, you will need an additional 2 units of rapid acting insulin
                                                                                to "correct" the blood sugar down to a target of 120 mg/di.

                                                                                Example #3: Total mealtime dose
                                                                                Finally, to get the total mealtime insulin dose, add the CHO
                                                                                insulin dose together with the high blood sugar correction
                                                                                insulin dose:

                                                                                   CHO Insulin Dose
                                                                                + High Blood Sugar Correction Dose
                                                                                = Total Meal Insulin Dose
                                                                                For Example #3, assume:
                                                                                    The carbohydrate coverage dose is 6 units of rapid acting
                                                                                     insulin.
                                                                                 • The high blood sugar correction dose is 2 units of rapid
                                                                                    acting insulin.

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                                                                                    Now, add the two doses together to calculate your total meal
                                                                                    dose.

                                                                                        Carbohydrate coverage dose ( 6 units)
                                                                                    + high sugar correction dose ( 2 units)
                                                                                    = 8 units total meal dose!

                                                                                    The total lunch insulin dose is 8 units of rapid acting insulin.

                                                                                    Example #4: Formulas commonly used to create
                                                                                    insulin dose recommendations
                                                                                    This example illustrates a method for calculating of your
                                                                                    bacl<:ground/basaf and botus doses and estimated daily insulin
                                                                                    dose when you need fuU insunn replacement. Bear in mind, this
                                                                                    may be too much insulin if you are newly diagnosed or stilt
                                                                                    making a lot of insulin on your own. And it may be too little if
                                                                                    you are very resistant to the action of insulin. Talk to your
                                                                                    provider about the best insulin dose for you as this is a general
                                                                                    formula and may not meet your individual needs.

                                                                                    The initial calcul·ation of the basal/background and bolus doses
                                                                                 · requires estimating your totat daily insulin dose:


                                                                                    Total Daily Insulin Requirement:
                                                                                    The general calculation for the body's daily insulin requirement
                                                                                    is:

                                                                                     Total Daily Insulin Requirement ( in units of insulin)
                                                                                    = Weight in Pounds + 4

                                                                                    Alternatively, if you measure your body weight in kilograms:

                                                                                    Total Daily Insulin Requirement (in units of insulin)
                                                                                    = o.ss X Total Weight in Kilograms
                                                                                    Example 1:

                                                                                    If you are measuring your body weight in pounds:

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                                                                                     • Assume you weigh 160 lbs.

                                                                                   In this example:

                                                                                   TOTAL DAILY INSULIN DOSE
                                                                                   = 160 lb+ 4 = 40 units of insulin/daY.,

                                                                                   Example 2:

                                                                                   If you are measuring your body weight in kilograms:

                                                                                     • Assume your weight is 70Kg

                                                                                   In this example:

                                                                                   TOTAL DAILY INSULIN DOSE
                                                                                   = o.ss x 70 Kg= 38.S units of insulin/day
                                                                                   If your body is very resistant to insulin, you may require a
                                                                                   higher dose. If your body is sensitive to insulin, you may
                                                                                   require a lower insulin dose.


                                                                                   Basal/Background and Bolus Insulin Doses
                                                                                   Next, you need to establish the basal/background dose,
                                                                                    carbohydrate coverage dose (insulin to carbohydrate ratio)
                                                                                   and high blood sugar correction dose (correction factor).

                                                                                   Basal/background insulin dose:
                                                                                   Basal/background Insulin Dose
                                                                                   = 40-500/o of Total Daily Insulin Dose
                                                                                  Example:

                                                                                        Assume you weigh 160 pounds
                                                                                        Your total daily insulin dose (TOI) = 160 + 4 = 40 units.

                                                                                  In this example:




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                                                                                    Basal/background insulin dose
                                                                                    = 50°/o of TDI ( 40 units) = 20 units
                                                                                    of either long acting insulin, (such as glargine or detemir) or
                                                                                    rapid acting insulin if you are using an insulin pump (continuous
                                                                                    subcutaneous insulin infusion device).

                                                                                    The carbohydate coverage ratio:
                                                                                    500 + Total Daily Insulin Dose
                                                                                    = 1 unit insulin covers so many grams of carbohydrate

                                                                                   This can be calculated using the Rule of "500": Carbohydrate
                                                                                    Bolus Calculation

                                                                                   In this example :

                                                                                   Carboh~drate coverage ratio
                                                                                   = 500 + TDI( 40 units)
                                                                                   = 1 unit insulin/ 12 g CHO
                                                                                   This example above assumes that you have a constant
                                                                                   response to insulin throughout the day. In reality, individual
                                                                                   insulin sensitivity varies. Someone who is resistant in the
                                                                                   morning, but sensitive at mid-day, will need to adjust the
                                                                                   insulin-to-carbohydrate ratio at different meal times. In such a
                                                                                   case, the background insulin dose would still be approximately
                                                                                   20 units; however, the breakfast insulin-to-carbohydrate ratio
                                                                                   might be breakfast 1:8 grams, lunch 1:15 grams and dinner
                                                                                   1:12 grams.




                                                                                                         the insulin to carbohydrate
                                                                                                         ratio may vary during the
                                                                                                         day.

                                                                                  The high blood sugar correction factor:

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                                                                                 Correction Factor= 1800 +Total Daily Insulin Dose= 1 unit
                                                                                of insulin wm reduce the blood sugar so many mg/di

                                                                                This can be calculated using the Rule of "1800".

                                                                                Example:

                                                                                     Assume your total daily insulin dose (TOI) = 160 lbs + 4 = 40
                                                                                      units

                                                                                In this example:

                                                                                Correction Factor
                                                                                = 1800 + TDI (40 units)
                                                                                = 1 unit insulin will drop reduce the blood sugar level by 45
                                                                                mg/di

                                                                                While the calculation is 1 unit will drop the blood sugar 45
                                                                                mg/di, to make it easier most people will round up or round
                                                                                down the number so the suggested correction factor may be 1
                                                                                unit of rapid acting insulin will drop the blood sugar 40-50
                                                                                mg/di.

                                                                                Please keep in mind, the estimated insulin regimen is an
                                                                                initial "best guess" and the dose may need to be modified to
                                                                                keep your blood sugar on target.

                                                                                Also, there are many variations of insulin therapy.. You wm
                                                                                need to work out your specific insulin requirements and dose
                                                                                regimen with your medical provider and diabetes team.


                                                                                Self-assessment Quiz
                                                                                Self assessment guizzes are available for topics covered in this
                                                                                website. To find out how much you have learned about
                                                                               Treatment of Type 1 Diabetes, take our self assessment guiz
                                                                               when you have completed this section. The quiz is multiple
                                                                               choice. Please choose the single best answer to each question.
                                                                               At the end of the quiz, your score will display. If your score is

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                                II                                                                            ERVVIN, CHRISTOPHER A

Patient Information                  Specimen Infortmmtion                                Clien1l: Information
                                     Specimen: KS623331E                                  Client#: 3091700    Iv1AIL992
ERWIN, CHRISTOPHER A
                                     Requisition: 0026215                                 BLOOM, RODNEY L
DOB: 04/28/1 1982     AGE: 33                                                             BLOOM, RODNEY LAMONT
Gender:  M                                                                                406 E CENTRAL AVE
                                     Collected:   07/27/2015
Phone:      NG                                                                            WICIDTA, KS 67202-1058
                                     Received:    07/27/2015 / 23:20 CDT
Patient ID: 8942                     Reported.:   07/28/2015 / 07:04 CDT
Health ID: 8573006529416452


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 COMPREHENSIVE V.iETABOLIC                                                                                                               I-<S
   PANEL
   GLUCOSE                                               135 H              65-99 mg/dL

                                                                       Fasting reference interval

    UREA NITROGEN (BUN)                 10                                  7-25 mg/dL
    CREATININE                          0.98                                0. 60-1. 35 mg/dL
    eGFR NON-AFR. AMERICAN              101                                 >OR= 60 mL/min/l.73m2
    eGFR AFRICAN AMERICAN               117                                 >OR= 60 m1/rnin/1.73m2
    BUN/CREATININE RATIO                NOT APPLICABLE                      6-22 (calc)
    SODIUM                              135                                 135-146 mmol/L
    POTASSIUM                           3.9                                 3.5-5.3 rnrnol/L
    CHLORIDE                            100                                 98-110 rnrnol/L
    CARBON DIOXIDE                      23                                  19-30 mmol/1
    CALCIUM                             9.6                                 8.6-10.3 mg/dL
    PROTEIN, TOTAL                      7.1                                 6.1-8.1 g/dL
    ALBUMIN                             4.6                                 3.6-5.1 g/dL
    GLOBULIN                            2.5                                 1.9-3.7 g/dL (calc)
    ALBUMIN/ GLOBULIN RATIO             1. 8                                1. 0-2. 5 (calc)
    BILIRUBIN, TOTAL                    0.5                                 0. 2-1. 2 mg/dL
    ALKALINE PHOSPHATASE                88                                  40-115 U/L
    AST                                 15                                  10-40 U/L
    ALT                                 14                                  9-46 U/L
 HEMOGLOBIN Al C!                                   f; . 6 H 1              <5.7 % of total Hgb                                          KS
         According to ADA guidelines, hemoglobin Ale <7.0%
         represents optimal control in non-pregnant diabetic
         patients. Different metrics may apply to specific
         patient populations. Standards of Medical Care in
         Diabetes-2013. Diabetes Care. 2013;36:s11-s66

         For the purpose of screening for the presence of
         dia:Oetes
         <5. 7%      Consistent with the absence of diabetes
         5.7-6.4%    Consistent with increased risk for diabetes
                     (prediabetes)
         >or=6. 5%   Consistent with diabetes

         This assay result is consistent with diabetes
         mellitus.

          Currently, no consensus exis~s for use of hemoglobin
          Ale for diagnosis of diabetes for children.
 CBC (INCLUDES DIFF/PLT)                                                                                                                 KS
   \iilHITE BLOOD CELL COUNT            8.5                                 3.8-10.8 Thousand/uL
   RED BLOOD CELL COUNT                 5.42                                4.20-5.80 Million/uL
   HEMOGLOBIN                           16.6                                13.2-17.l g/dL
   HEMATOCRIT                           49.5                                38.5-50.0 %
   MCV                                  91. 2                               80.0-100.0 fL
   MCH                                  30.6                                27.0-33.0 pg
                                                                            ..... r,.   .....   ·"'   .......- -   • -·
   MCHC                                 33.5
                                                                                                                                       Report Status: Final
                                                                                                                                ERVVIN, CHRISTOPHER A

 Patient Information                                         Specimen lnfot'm21.tic1111                                Client lnformatfon
                                                             Specimen: KS204152K                                      Client#: 3091700    MAIL992
 ERWIN, CHlUSTOJPHERA
                                                             Requisition: 0027802                                     BLOOM, RODNEY L
 DOB: 04/28/1982     AGE: 33                                                                                          BLOOM, RODNEY LAMONT
 Gender: M                                                                                                            406 E CENTRAL AVE
                                                             Collected:      02/24/2016
 Phone:      NG                                                                                                       WICHITA, KS 67202-1058
                                                             Received:       02/25/2016 / 02:55 CST
 Patient ID: 8942                                            Reported:       02/25/2016 I 06:01 CST
 Health ID: 8573006529416452


     Test Name                                                  In Range               Out O:E Rar1ge           Referenc:e Ran.,g-e                   Lab
     HEMOGLOBIN Ale                                   6.7 H                                                     <5.7 % of total Hgb                   KS
          According to ADA guidelines, hemoglobin Ale <7.0%
          represents optimal contr·o1 in non-preg·nant diabetic
          patients. Different metrics may apply to specific
          patient populations. Standards of Medical Care i~
          Diabetes-2013. Diabetes Care. 2013;36:sll-s66

            For the purpose of screening for the presence of
            diabetes
            <5. 7%      Consistent with the absence of diabetes
            5.7-6.4%    Consistent with increased risk for diabetes
                        (prediabetes)
            >or=6. 5%   Consistent with diabetes

            This assay result is consistent with diabetes
            mellitus.

            Currently, no consensus exists for use of hemoglobin
            Ale for diagnosis of diabetes for children.

PERFORMING SITE:
KS    QUEST DIAGNOSTICS LENEXA, 10101 RENNER BLVD, LENEXA. KS 66219-9752 Laborntory Direc-tor:WILLIAMBECKER,DO,MPH. CLIA: 1700648226
                                                                                                                                                Report Status: Final
                                                                                                                                       ERVVIN, CIDUSTOFHER .A

     Patient Information                                          Specimen lnfor.m21tion                                     Clientt 11.nformation
                                                                  SpE:cimen.: KS417268R                                      Client#: 3091700    MAIL992
 ERWIN, CHRISTOPHER A
                                                                  Requisition: 0029624                                       BLOOM, RODNEY L
 DOB: 04/28/1982              AGE: 34                                                                                        BLOOM, RODNEY LAMONT
 Gender: M                                                                                                                   406 E CENTRAL AVE
                                                                 Collected:       11/09/2016
 Phone:      NG                                                                                                              WICHITA, KS 67202-1058
                                                                 Received:        11/09/2016 / 23:52 CST
 Patient ID: 8942                                                Reported.:       11/10/2016 / 03:04 CST
 Health ID: 8573006529416452


      Test Name                                                      In Range               Out Ctf Rair1ge           Referene:El! Ran.ge                      Lab
      BASIC METABOLIC PANEL                                                                                                                                    KS
        GLOCOSE                                                                             16'7 H.                    65-99 mg-/dL

                                                                                                                Fasting reference interval

        UREA NITROGEN (BUN)                 9                                                                         7-25 mg/dL
        CREATININE                          0.91                                                                      0. 60-1. 35 mg/dL
        eGFR NON-AFR. AMERICAN              110                                                                       >OR= 60 mL/min/1.73m2
        eGFR AFRICAN AMERICAN               127                                                                       >OR=· 60 mL/min/1.73m2
        BUN/CREATININE RATIO                NOT APP~ICABLE                                                            6-22 (calc)
        SODIUM                              138                                                                       135-146 mmol/L
        POTASSIUM                           4.3                                                                       3.5-5.3 rnmol/L
        CHLORIDE                            102                                                                       98-110 rnmol/L
        CARBON DIOXIDE                      25                                                                        20-31 rnmol/L
        CALCIUM                             9.0                                                                       8.6-10.3 mg/dL
      HEMOGLOBIN Ale                                                                                                  <5.7 % of total Hgb                      KS
            According to ADA guidelines, hemoglobin Ale <7.0%
            represents optimal control in non-p=egnant diabetic
            patients. Differen~ metrics may apply to specific
            patient population;:;. Standards of Medical Care in
            Diabetes-2013. Diabetes Care. 2013;36:sll-s66

              For the purpose of screening for the presence of
              diabetes
              <5. 7%      Consis~ent with the absence of diabetes
              5.7-6.4%    Consistent with increased risk for diabetes
                          (prediabetes)
              >or=6.5%    Consistent with diabetes

              This assay result is consistent with a higher risk
              of diabetes.

              Currently, no consensus exists for use of hemoglobin
              Ale for diagnosis of -diabetes for children.

PERJFOR1\1ING SITE:
KS      QUEST DIAGNOSTICS LENEXA, 10101 RENNER BLVD, LENEXA, KS 66219-9752 I.aboratory Director: '\\ilLLTAMBECKER.,DO,MPH, CLTA: l7D0648226
                                                                                                    Report Status: Final
                                                                                           ERWIN, CHRISTOPHER .A

!atient Information                     Specimen Information                       Clientt Information

~RWJJN, CHRISTOPHER A                   Specimen: KS376047D                        Client#:3091700        :MAIL992
                                        Requisition: 0032355                       BLOOM, RODNEY L
DOB: 04/28/1982     AG-E: 35                                                       BLOOM,RODNEYLAMONT
Gender: M          Fasting: U                                                      406 E CENTRAL AVE
                                        Collected:   11/28/2017
Phone:      NG                                                                     WICHITA, KS 67202-1058
                                        Received:    11/28/2017 / 23 :09 CST
Patient ID: 8942
                                        Reported:    11/29/20-17 / 04:20 CST
Health ID: 8573006529416452


COMMENTS:             FASTING:UNKNOWN
 Test Name                                :Cn Rar1ge        Out Of Range       Reference Range                       Lab
 COMPREHENSIVE V.lETABOLIC                                                                                           KS
   PANEL
   GLUCOSE                                                  37 LL          65-99 mg-/dL
                                                            Verified by repeat analysis.


                                                            Red blood cells were present in the
                                                            sample upon receipt in the laboratory.
                                                            The test(s) ordered were performed.
                                                            The presence of red blood cells has
                                                            been known to affect the following
                                                            analytes: potassium, glucose,
                                                            inorganic phosphorus, lactate
                                                            dehydrogenase and iron. Verified by
                                                            repeat analysis.


                                                                           Fasting reference interval
   UP~A NITROGEN (BUN)                    15                                   7-25 mg/dL
   CREATIKINE                             0.95                                 0.60-1.35 rng/d.L
   eGFR NON-AFR. N-1ERICAN                103                                  >OR= 60 rnL/min/1.73rn2
   eGFR AFRICAN AMERICAN                  120                                  >OR= 60 mL/min/l.73m2
   BUN/CREATININE RATIO                   NOT APPLICABLE                       6-22 (calc)
   SODIUM                                 140                                  135-146 mmol/L
   POTASSIUM                              3.8                                  3.5-5.3 mrnol/L
   CHLORIDE                               103                                  98-110 mmol/L
   CARBON DIOXIDE                         29                                   20-31 mmol/L
   CALCIUM                                9.8                                  8.6-10.3 mg/dL
   PROTEIN, TOTAL                         7.0                                  6.1-8.1 g/dL
   ALBUMIN                                4.7                                  3.6-5.1 g/dL
   GLOBULIN                               2.3                                  1.9-3.7 g/dL (calc)
   ALBUMIN/GLOBULIN RATIO                 2.0                                  L 0-2. 5 (calc)
   BILIRUBIN, TO'l'AL                     O. 5                                 0.2-1.2 mg/dL
   ALKALINE PHOSPHATASE                   90                                   40-115 U/L
   AST                                    17                                   10-40 U/1
   ALT                                    20                                   9-46 U/L
HEMOGLOBJ:N Al c                                    E;. 0 M     1
                                                                               <5.7 % of total Hgb                   KS
         For someone without known diabetes, a hemoglobin
         Ale value between 5.7% and 6.4% is consistent with
         prediabetes and should be confirmed with a
         follow-up test.

         For someone with known diabetes, a value <7%
         indicates that their diabetes is well controlled. Ale
         targets should be individualized based on d'J.ration of
         diabetes, age, comorbid conditions, and other
         considerations.

         This assay result is consistent with an increased risk
         of diabetes.
9/28/2020                                                   Understanding A 1C I ADA




                                                                               eAG

                                             mg/df                              mmol/1

             6                               126                                7.0

             6.5                                                                7.8

             7                                                                  8.6

             7.5                                                                9.4

             8                               183                                 10.1

             8.5                             197                                 10.9

             9                               212                                 11.8

             9.5                             226                                 12.6

             10                              240                                 13.4


            Comparison c,-f AIC and e.i\G meter readings.
